ANCHORAGE BRANCH

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DEPARTMENT OF LAW
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IN THE SUPERIOR COURT FOR THE STATE OF ALASKA

THIRD JUDICIAL DISTRICT AT ANCHORAGE
In the Matter of:

E ‘Kf wil

Date of Birth: /10 Case No. 3AN-21-00430 CN

A Child
Under the Age
of Eighteen (18) Years.

 

ORDER RELEASING CUSTODY, CLOSING CASE,
AND VACATING HEARING DATES

Based on the minor’s Motion for Release of Custody, and there being no
objection,

IT IS ORDERED that the child named above shall be released into the custody of
Dion Humphrey and this matter shall be closed. The Office of Children’s Services is
hereby released from all responsibility for this child and all future hearings in this
matter are vacated.

EFFECTIVE DATE: May 31, 2022
DATED: __ JUN 08 2022

 

0 Carty.

SUPERIOR COURT JUDGE

 

CERTIFICATE OF SERVICE

This is to certify that on Lofgj2z a copy of the foregoing is being served/emailed without
error on the following attorneys or parties of record:

Katie Stephenson, RDS ¥ Laura S. Hartz, GALY

Kristine Kennedy, AGOY Abraham Weiss, OCS ¥
Stephanie L. Knight, Mother/ Dion K. Humphrey Sr., Father v
David A. Case, Atty. for the Tribe /

Signature ime

KAK/CCM/KENNEDY/PL/HUMPHREY, D/ORDERS/ORDER RELEASING CUSTODY

 

 

 
